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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 21-CV-61923-RAR

 VERONICA QUIROGA,

         Plaintiff,

 v.

 EQUIFAX INFORMATION
 SERVICES, LLC, et al.,

       Defendants.
 _______________________________/

                            ORDER SCHEDULING MEDIATION

         The mediation conference in this matter shall be held with Christopher E. Benjamin of

 Salmon and Dulberg on March 28, 2022 at 10:00 A.M. The mediation conference shall take place

 in person. Requests to appear virtually by videoconference or other remote means must be made

 by motion providing good cause. A report of the mediation must be filed within seven (7) days

 thereafter.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 6th day of December, 2021.



                                                     _________________________________
                                                     RODOLFO A. RUIZ II
                                                     UNITED STATES DISTRICT JUDGE
